   Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 1 of 44




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

STATE OF LOUISIANA, et al.,
                                              CIVIL ACTION NO.
           Plaintiffs,                     2:23-CV-01839-DJP-JVM

     v.                                  JUDGE DARREL PAPILLON

DEPARTMENT OF HOMELAND                MAGISTRATE JUDGE JANIS VAN
SECURITY, et al.,                             MEERVELD

           Defendants.



  PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                   MOTION TO DISMISS
         Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 2 of 44




                                             TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................ ii

TABLE OF AUTHORITIES ......................................................................................... iii

INTRODUCTION .......................................................................................................... 1

BACKGROUND ............................................................................................................. 1

   I.         HISTORY OF THE NATIONAL FLOOD INSURANCE ACT ......................................... 2

   II.        EQUITY IN ACTION .............................................................................................. 5

ARGUMENT .................................................................................................................. 9

   I.         DEFENDANTS IMPROPERLY RELY ON THE MAURSTAD DECLARATION. ................ 9

   II.        THE PLAINTIFFS HAVE ESTABLISHED ARTICLE III STANDING. ......................... 16

        A.      The Parishes Have Article III Standing. .................................................... 17

        B.      The Levee Districts Have Article III Standing. ......................................... 20

        C.      The States Have Article III Standing. ........................................................ 21

             1. Equity in Action injures the States’ important sovereign interests.......... 21

             2. Equity in Action injures the State’s quasi-sovereign interests. ................ 26

             3. Equity in Action causes the States to suffer economic harm. ................... 27

             4. Equity in Action injures the States’ proprietary interests. ....................... 29

        D.      Plaintiffs Have Standing Under NEPA. ..................................................... 31

CONCLUSION............................................................................................................. 33




                                                               ii
       Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 3 of 44




                                       TABLE OF AUTHORITIES
Cases
Alden v. Maine,
  527 U.S. 706 (1999) .................................................................................................. 21

Alfred L. Snapp & Son, Inc. v. Puerto Rico,
  458 U.S. 592 (1982) ................................................................................ 21, 22, 26, 27

Am. Hosp. Ass’n v. Azar,
 983 F.3d 528 (D.C. Cir. 2020) .................................................................................. 10

Bank of Am. Corp. v. City of Miami,
 137 S. Ct. 1296 (2017) .............................................................................................. 29

Bennett v. GEO Grp, Inc.,
  No. 12-60017, 2013 WL 5916765 (5th Cir. May 22, 2013) ...................................... 12

Biden v. Nebraska,
  600 U.S. ----, 143 S. Ct. 2355 (2023) ........................................................................ 16

California v. Texas,
 141 S. Ct. 2104 (2021). ............................................................................................. 26

Citizens to Preserve Overton Park, Inc. v. Volpe,
  401 U.S. 402 (1971) .................................................................................................. 11

Clapper v. Amnesty Int’l,
  568 U.S. 398 (2013) ............................................................................................ 27, 28

Clarke v. Securities Industry Assn.,
  479 U.S. 388 (1987) ............................................................................................ 31, 32

Contender Farms, LLP v. Dep’t of Ag.,
  779 F.3d 258 (5th Cir. 2015) .................................................................................... 24

Crosby v. La. Health Serv. and Indem. Co.,
  647 F.3d 258 (5th Cir. 2011) .............................................................................. 11, 12

Czyzewski v. Jevic Holding Corp.,
  580 U.S. 451 (2017) .................................................................................................. 18

El Paso Cnty. v. Trump,
  982 F.3d 332 (5th Cir. 2020) ........................................................................ 18, 21, 29


                                                            iii
       Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 4 of 44




FCC v. Fox Television Stations, Inc.,
 556 U.S. 502 (2009) .................................................................................................. 10

Fla. Key Deer v. Paulison,
  522 F.3d 1133 (11th Cir. 2008) .......................................................................... 32, 33

Fla. Key Deer v. Stickney,
  864 F. Supp. 1222 (S.D. Fla. 1994) .............................................................. 28, 32, 33

Georgia v. Tenn. Copper Co.,
  206 U.S. 230 (1907) ............................................................................................ 25, 27

Haaland v. Brackeen,
 143 S. Ct. 1609 (2023) .............................................................................................. 26

Haase v. Sessions,
 835 F.2d 902 (D.C. Cir. 1987) ............................................................................ 14, 18

Irwin v. Veterans Admin.,
  874 F.2d 1092 (5th Cir. 1989) .................................................................................. 15

Irwin v. Dep’t of Veterans Affairs,
  498 U.S. 89 (1990) .................................................................................................... 15

Kentucky v. Biden,
  23 F.4th 585 (6th Cir. 2022)..................................................................................... 27

La. Dep’t of Wildlife & Fisheries v. NOAA,
  70 F.4th 872 (5th Cir. 2023)..................................................................................... 29

Lincoln v. Vigil,
  508 U.S. 182 (1993) .................................................................................................... 6

Louisiana v. Biden,
  64 F.4th 674 (5th Cir. 2023)..................................................................................... 30

Lujan v. Defs. of Wildlife,
  504 U.S. 555 (1992) .......................................................................................... passim

Massachusetts v. EPA,
 549 U.S. 497 (2007) ...................................................................................... 21, 22, 24

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,
 567 U.S. 209 (2012) .................................................................................................. 31

                                                            iv
       Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 5 of 44




McGowan v. Maryland,
 366 U.S. 420 (1961) .................................................................................................. 18

Minvielle v. Iberia Par. Gov’t,
 317 So.3d 588 (La. Ct. App. 3d Cir. 2019) ......................................................... 23, 27

Paterson v. Weinberger,
  644 F.2d 521 (5th Cir. 1981) .................................................................................... 15

Pennsylvania v. West Virginia,
  262 U.S.553 (1923) ................................................................................................... 26

Rumsfeld v. Forum for Academic and Institutional Rights, Inc.,
 547 U.S. 47 (2006) ...................................................................................................... 9

Spong v. Fidelity Nat’l Prop. & Cas.,
  787 F.3d 296 (5th Cir. 2014) ...................................................................................... 6

St. Charles Parish v. FEMA,
  2:23-cv-01369 (E.D. La. Apr. 25, 2023)................................................................ 6, 11

Summers v. Earth Island Institute,
  555 U.S. 488 (2009) .................................................................................................. 31

Superior MRI Servs., Inc. v. All. Healthcare Servs., Inc.,
  778 F.3d 502 (5th Cir. 2015) .................................................................................... 15

Tex. Democratic Party v. Benkiser,
  459 F.3d 582 (5th Cir. 2006) .................................................................................... 17

Texas v. Equal Empl. Opp. Comm’n,
  933 F.3d 433 (5th Cir. 2019) .............................................................................. 22, 24

Texas v. United States,
  50 F.4th 498 (5th Cir. 2022)..................................................................................... 18

Texas v. United States,
  809 F.3d 134 (5th Cir. 2015) .............................................................................. 22, 30

Trump v. New York,
  141 S. Ct. 530 (2020) ................................................................................................ 26




                                                             v
        Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 6 of 44




United States v. Texas,
 143 S. Ct. 1964 (2023) .............................................................................................. 25

Warth v. Seldin,
 422 U.S. 490 (1975) ............................................................................................ 10, 14

Wyoming v. Oklahoma,
 502 U.S. 437 (1992) .................................................................................................. 18

Young Conservatives of Tex. Found. v. Smatresk,
  73 F.4th 304 (5th Cir. 2023)............................................................................... 17, 18

Statutes

5 U.S.C. § 706 ............................................................................................................... 11

42 U.S.C. § 4001 ................................................................................................... 2, 3, 22

42 U.S.C. § 4002 ................................................................................................. 3, 29, 32

42 U.S.C. § 4014 ................................................................................................. 4, 5, 6, 8

42 U.S.C. § 4015 ................................................................................................... 4, 8, 13

42 U.S.C. § 4022 ........................................................................................................... 33

42 U.S.C. § 4321 ........................................................................................................... 32

42 U.S.C. § 5170 ............................................................................................................. 3

La. Rev. Stat. § 38:84 ............................................................................................. 22, 23

La. Rev. Stat. § 39:94 ................................................................................................... 29

Pub. L. 103-325, 108 Stat. 2160 .................................................................................... 3

Pub. L. 112-141, § 100202, 126 Stat. 405 ..................................................................... 3

Pub. L. 112-141, 128 Stat. 1022 .................................................................................... 4

Pub. L. 93-288, § 404 ..................................................................................................... 3

Pub. L. No. 90-448, §§ 1301–1377, 82 Stat. 476 ........................................................... 2



                                                               vi
        Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 7 of 44




Pub. L. No. 90-448, 82 Stat. 476 ................................................................................... 2

Other Authorities

Conversations about Risk Rating 2.0 Part I, Wharton (May 23, 2022),
  perma.cc/Q6VD-BG8J; id ....................................................................................... 2, 6

Cost of Flood Insurance for Single-Family Homes under Risk Rating 2.0, FEMA
  (Apr. 19, 2023), https://perma.cc/K4NL-Y7M8................................................ 7, 8, 19

Questions about the Biggert-Waters Flood Insurance Reform Act of 2012, FEMA,
 https://perma.cc/H8V9-CYV3 ..................................................................................... 3

Risk Rating 2.0: Projected Premium Changes by State, Arcgis (last accessed May
  31, 2023),
  https://www.arcgis.com/apps/dashboards/ad25fc43b31e46e6a66a4c632d6746f6 .... 7

Regulations

44 C.F.R. § 60.3 ............................................................................................................ 23

44 C.F.R. § 60.5 ............................................................................................................ 33

Constitutional Provisions

La. Const. art. 6 ..................................................................................................... 19, 21

La. Const. art. 7 ........................................................................................................... 29




                                                              vii
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 8 of 44




                                 INTRODUCTION

      Equity in Action marks a complete overhaul of how FEMA calculates flood

insurance premiums. And not for the better. Equity in Action raises insurance

premiums for policyholders past their breaking point, pushing—according to FEMA’s

own estimates—1 million policyholders from the program. As alleged in Plaintiffs’

complaint, Equity in Action applies to nearly 15 million people and 7.8 million

properties. It imposes unreasonable and unexpected costs across the board, and as a

result, it imposes distinct and direct harms on each Plaintiff. In response, Defendants

attempt to parse each of Plaintiffs’ injuries to argue that Plaintiffs lack standing.

That’s wrong. Independently, each claim of injury suffices to establish standing. But

more than that, Defendants’ motion to dismiss ignores the injuries in the aggregate.

Together, Plaintiffs’ injuries showcase the breadth of Equity in Action’s reach and the

crippling effects of its changes. Because Plaintiffs have standing to challenge Equity

in Action under the Administrative Procedure Act (APA), this Court should deny

Defendants’ motion.

                                  BACKGROUND

      Defendants’ motion tries to downplay Equity in Action at every turn. They

assert that Equity in Action “simply adjusts” or “updates” the methodology for

calculating rates. Defs’ MTD, ECF No. 47-1 at 12, 20. But Equity in Action changes

the entire program: it changes the factors the agency considers, the input data the

agency relies upon, the model the agency uses to calculate premiums, how the agency

communicates those new premiums to policyholders, and policyholders’ ability to

question or challenge those new premiums. Don’t take Plaintiffs’ word for it—FEMA


                                          1
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 9 of 44




itself admits that Equity in Action is a “transformational leap.” Conversations about

Risk Rating 2.0 Part I, Wharton (May 23, 2022), perma.cc/Q6VD-BG8J; id. (“changing

the entire paradigm of flood insurance protection”); id. (“FEMA developed two

additional models”); id. (“[W]e have built an entirely new system from the ground

up.”). This is no mere tweak, adjustment, or update. In FEMA’s words, it’s “an

entirely new system.” Id.

      The numerous bases for Plaintiffs’ standing become apparent when the facts

are viewed in context of the NFIP program more broadly. Plaintiffs thus outline that

program first, then address Defendants’ narrative of Equity in Action.

I.    HISTORY OF THE NATIONAL FLOOD INSURANCE ACT

      In 1968, Congress passed the “Housing and Urban Development Act,” which

aimed “[t]o assist in the provision of housing for low and moderate income families.”

Pub. L. No. 90-448, 82 Stat. 476. As part of the national goal of increasing

homeownership, Congress included the National Flood Insurance Act, which

established the National Flood Insurance Program. Pub. L. No. 90-448, §§ 1301–1377,

82 Stat. 476, 572–89 (codified at 42 U.S.C. §§ 4001–4129). Congress made findings

about the hardships of flood disasters and its desire for “a reasonable method of

sharing the risk of flood losses . . . through a program of flood insurance which can

complement and encourage preventative and protective measures.” 42 U.S.C. §

4001(a).

      Despite this push to make flood insurance available, communities were still

unmotivated to join the program. In response, Congress passed the Flood Disaster

Protection Act of 1973, which made flood insurance mandatory in certain


                                         2
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 10 of 44




circumstances where other federal funds were involved. Pub. L. No. 93-234, 87 Stat.

975 (codified at 42 U.S.C. § 4002). Specifically, the 1973 Act prohibited most federal

assistance for construction in the floodplains of communities not in the NFIP. Id. This

meant that States with large floodplains relied on the NFIP to develop infrastructure

in those communities.

      To further fortify the NFIP, Congress passed several other important pieces of

legislation. First, the Stafford Act established the Hazard Grant Mitigation Program,

which provided “hazard mitigation assistance . . . in connection with flooding” and

permitted the acquisition of certain properties. Pub. L. 93-288, § 404 (codified at 42

U.S.C. § 5170c). This, of course, helped increase mitigation efforts to reduce the

impact of flooding events. Later, Congress passed the National Flood Insurance

Reform Act, which expanded mandatory flood insurance requirements for properties

involved with federally insured lenders. Pub. L. 103-325, 108 Stat. 2160 (42 U.S.C.

4001 et seq.).

      In 2012, Congress conducted its most massive overhaul of the flood insurance

program, passing the Biggert-Waters Act (BW-12). BW-12 eliminated certain

subsidies and grandfathering, seeking to make the NFIP “more financially stable.”

Questions about the Biggert-Waters Flood Insurance Reform Act of 2012, FEMA,

https://perma.cc/H8V9-CYV3; see also Pub. L. 112-141, § 100202, 126 Stat. 405.

Specifically, BW-12 barred lower rates for pre-FIRM properties, which had benefitted

from lower rates due to the reliance interests on these properties. But in doing so,




                                          3
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 11 of 44




policyholder premiums increased dramatically. See, e.g., Letter to Majority Leader

Reid, et al. (June 28, 2012), Ex. 1.

      A short two years later, in response to the dramatic rate increases, Congress

passed the Homeowner Flood Insurance Affordability Act (HFIAA). Pub. L. 112-141,

128 Stat. 1022. As its name suggests, the HFIAA aimed to address affordability,

seeking to implement long-term changes to the program while still encouraging

homeowners to maintain flood insurance. To do this, Congress established a way to

phase-in a new full-risk rating system that would allow policyholders to increase their

rates incrementally rather than face a crippling new rate all at once. 42 U.S.C. §

4015(i). In short, the HFIAA sought to return to the original purpose of the law–to

make flood insurance affordable for homeowners.

      To this day, the NFIP remains the primary way that homeowners secure flood

insurance. See Memorandum from Republican Financial Services Staff to Republican

Members, Committee on Financial Services (Mar. 8, 2023), Ex. 2 (explaining that the

NFIP sells roughly 93% of residential flood coverage); see also Memorandum from

Committee Staff to Members of the Committee on Financial Services (Mar. 7, 2023),

Ex. 3. Through the NFIA, FEMA exercises its authority to manage the NFIP by

establishing premium rates and conducting studies on floodplain management

standards. Specifically, the FEMA Administrator is authorized to estimate premium

rates “based on”: (1) “consideration of the risk involved and accepted actuarial

principles,” 42 U.S.C. § 4014(a)(1);(2) what “would be reasonable”; (3) FEMA’s

mandate to “encourage prospective insureds to purchase flood insurance,” 42 U.S.C.




                                          4
      Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 12 of 44




§ 4014(a)(2); and (4) “the extent, if any, to which federally assisted or other flood

protection measures initiated after August 1, 1968, affect such rates,” 42 U.S.C. §

4014(a)(3). While the Administrator has authority to review and set rates, each of

these statutory commands constrains that authority and helps further the NFIA’s

goal of providing flood insurance to as many people as possible.

       Throughout briefing, Defendants focus entirely on the first requirement that

the agency evaluate “the risk involved” and calculate premiums based on “accepted

actuarial principles.” 42 U.S.C. § 4014(a)(1). That requirement is only half of the

equation. Defendants ignore the second provision, which authorizes FEMA to set

“rates . . . less than the rates estimated under paragraph (1), which would be

reasonable, would encourage prospective insureds to purchase flood insurance, and

[which] would be consistent with the purposes of this chapter.” Id. § 4014(a)(2). In

other words, Defendants assert the NFIA directs FEMA to adopt rates based on

accepted actuarial principles, but they ignore congressional authorization to lower

rates when necessary to achieve the law’s very purpose—and ignore the way FEMA

historically has used that authority in just that way. Defs’ MTD, ECF No. 47-1 at 4,

7 (citing Maurstad Decl. ¶ 101). And by focusing entirely on the “actuarial rates”

provision and ignoring the “reasonable” rates provision, FEMA was able to overhaul

the entire flood insurance program, bypassing Congress entirely.

II.    EQUITY IN ACTION

       Defendants’ motion to dismiss highlights its central focus: solvency of the

NFIP. Defendants openly admit that FEMA raised its average annual loss— the total

amount of premiums FEMA must collect across the NFIP to pay out claims—to cover


                                          5
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 13 of 44




its growing debt and then worked backwards to establish a model and produce

corresponding rates that would achieve that annual loss figure. Defs’ MTD, ECF No.

47-1 at 14. As discussed above, though, one of FEMA’s two statutory mandates is to

make flood insurance affordable. 42 U.S.C. § 4014(a)(2); see also Spong v. Fidelity

Nat’l Prop. & Cas., 787 F.3d 296, 304 (5th Cir. 2014) (“Congress enacted the National

Flood Insurance Act of 1968 (NFIA) to make flood insurance available at reasonable

prices and on reasonable terms.”); Statement of David Maurstad Before the

Committee on Banking, Housing, and Urban Affairs (June 23, 2022), Ex. 4.

Defendants cannot elevate their fiscal desires over the statutory mandate that they

make flood insurance accessible and affordable as the program requires. Lincoln v.

Vigil, 508 U.S. 182 (1993) (“Of course, an agency is not free simply to disregard

statutory responsibilities.”).

      FEMA admits that Equity in Action has dramatically changed the way the

flood insurance program operates to address FEMA’s debt. Conversations about Risk

Rating 2.0 Part I, Wharton (May 23, 2022), perma.cc/Q6VD-BG8J. FEMA states that,

while the new system maintains “certain aspects of the legacy NFIP rating approach,”

the agency also purports to “modernize rate setting” by eliminating subsidies and

grandfathering and altering the factors that go into premium calculations. Defs’

MTD, ECF No. 47-1 at 1, 14. In addition, FEMA hired an outside group to develop

the catastrophic risk model it now uses. Compare Defs’ MTD, ECF No. 47-1 at 12,

with Compl., St. Charles Parish v. FEMA, 2:23-cv-01369, ECF No. 1 (E.D. La. Apr.

25, 2023) (refusing to make that model public). Both parties agree, then, that Equity




                                         6
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 14 of 44




in Action is “transformational” and changes how the flood insurance program

operates.

      The parties disagree, however, about how these changes affect Plaintiffs and

policyholders. For example, Defendants assert that Plaintiffs “simply assume that

rate increases” will be significant and that they rely on “outlier examples of individual

premium increases” to highlight their harms. Defs’ MTD, ECF No. 47-1 at 29. But

these are not “assumptions” at all; they’re based on the information FEMA itself

provided in April of this year. See Cost of Flood Insurance for Single-Family Homes

under Risk Rating 2.0, FEMA (Apr. 19, 2023), https://perma.cc/K4NL-Y7M8, FEMA

Exhibit 3; see also Letter from Representative Graves to Office of Mgmt and Budget,

FEMA (Apr. 6, 2022), Ex. 5.

      FEMA’s own projected rates in certain Louisiana communities will be

staggering. For example, St. Charles Parish will see an average 752% increase,

Plaquemines Parish will see an average 545% increase, and some communities within

Plaquemines Parish will experience an average 1,098% increase. See Cost of Flood

Insurance for Single-Family Homes under Risk Rating 2.0, FEMA (Apr. 19, 2023),

https://perma.cc/K4NL-Y7M8, FEMA Exhibit 3. To the extent FEMA labels these as

“outlier examples,” FEMA’s own data shows that 79.5% of policyholders in Louisiana

will see an immediate premium increase. Risk Rating 2.0: Projected Premium

Changes      by     State,     Arcgis     (last     accessed     May      31,     2023),

https://www.arcgis.com/apps/dashboards/ad25fc43b31e46e6a66a4c632d6746f6.




                                           7
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 15 of 44




        Relatedly, Defendants assert that Plaintiffs would experience “incremental”

increases each year under the legacy rating system. Defs’ MTD, ECF No. 47-1 at 39.

Plaintiffs do not dispute that, under the legacy rating system, many individuals

experienced slight annual increases as permitted under 42 U.S.C. § 4015(e)(2). But

policyholders have never seen rate increases like the ones they are seeing under

Equity in Action. See Cost of Flood Insurance for Single-Family Homes under Risk

Rating 2.0, FEMA (Apr. 19, 2023), https://perma.cc/K4NL-Y7M8, FEMA Exhibit 3.

And FEMA has direct control over how much the premiums increase. 42 U.S.C. §

4014(a)(2).

        Finally, Defendants seem to suggest that Plaintiffs’ purported delay in

bringing the lawsuit undermines Plaintiffs’ claims of harm. Defs’ MTD, ECF No. 47-

1 at 18. At the same time, Defendants also assert that Plaintiffs have not provided

sufficient evidence to support their claims of harm and that their claims are

speculative. Id. at 21, 25–37. Before bringing this lawsuit, Plaintiffs tried and tried

for years to find other ways of resolving their concerns. And now that Equity in Action

has been fully implemented and more policies have come up for renewal subject to

the new premiums, Plaintiffs have observed the actual rate increases that FEMA

refused to reveal every time Plaintiffs previously asked for that information.1 In other

words, Plaintiffs could not have brought this suit any earlier.

        It is these rate increases, shrouded in secrecy for years by FEMA, that impose

the most obvious and direct harm on Plaintiffs. Because Plaintiffs suffer from an


1 Defendants assert that Equity in Action has been fully in effect since October 1, 2021. But they admit

it was not fully implemented until April 1, 2023, merely two months before Plaintiffs sued.


                                                   8
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 16 of 44




injury in fact as a result of Equity in Action, this Court should deny Defendants’

motion to dismiss.

                                    ARGUMENT

      Defendants try to raise the legal standards for standing beyond the reach of

any injured party. But under the proper standards, Plaintiffs have done more than

enough to defeat Defendants’ motion. Plaintiffs have demonstrated standing for each

Plaintiff, even though it only takes one Plaintiff with standing for this Court to reach

the merits of the dispute. Rumsfeld v. Forum for Academic and Institutional Rights,

Inc., 547 U.S. 47, 52 n.2 (2006). Plaintiffs easily meet that standard.

I.    DEFENDANTS IMPROPERLY RELY ON THE MAURSTAD DECLARATION.

       Defendants attach to their motion a 100-page declaration from David

Maurstad, the Assistant Administrator for the Federal Insurance Directorate within

FEMA. Defendants insist that this Court “can and should consider the Maurstad

Declaration” because it “provides relevant background information . . . in lieu of the

administrative record” and “contains information relevant to whether Plaintiffs have

plausibly asserted a concrete, redressable injury in fact for standing.” Defs’ MTD,

ECF No. 47-1 at 7 n.2.

      Defendants want it both ways. They previously argued that any “judicial

review” in this case must be made on the basis of the administrative record and not

on the basis of Plaintiffs’ evidence. Defs’ Memo. in Support of Their Mot. To Extend

the Submission Date for Pls’ Mot. for a Prelim. Injun., ECF No. 34-1 at 3–4

(“Plaintiffs’ declarations . . . were not before FEMA when it developed Risk Rating

2.0, and are therefore irrelevant to the merits of Plaintiffs’ claims.”). Turning 180


                                           9
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 17 of 44




degrees, Defendants now urge the Court to consider their own extra-administrative-

record evidence.

      Defendants also attempt to characterize the Maurstad Declaration as relevant

to Plaintiffs’ standing and assert that the Court “need only consider the specific . . .

paragraphs cited” in their motion to dismiss. Defs’ MTD, ECF No. 47-1 at 7 n.2. But

the Maurstad Declaration is really a sneak attack on the merits of Plaintiffs’ claims.

The portions of that declaration cited by Defendants’ motion focus on how Equity in

Action allegedly improved the legacy rating system and on how Equity in Action’s

harms to Plaintiffs are “outweighed or at least counterbalanced by [its] collective

financial benefits.” Defs’ MTD, ECF No. 47-1 at 39. By arguing that Equity in Action

is better than the legacy system, Defendants are covertly arguing that they had “good

reasons” for changing from the legacy rating system to Equity in Action and have

landed at the very center of the merits of Plaintiffs’ claims. “As the Supreme Court

has explained, an agency may change its policy position but must . . . ‘show that there

are good reasons for the new policy.’” Am. Hosp. Ass’n v. Azar, 983 F.3d 528, 539 (D.C.

Cir. 2020) (quoting FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).

      There are two problems with allowing Defendants to submit evidence on the

merits. First, to the extent the “relevant background information” in the Maurstad

Declaration departs from the factual assertions on the merits that Plaintiffs make in

their complaint, the Court must construe those allegations in favor of Plaintiffs, not

Defendants. Warth v. Seldin, 422 U.S. 490, 501 (1975).




                                          10
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 18 of 44




      Second, the merits of Plaintiffs’ claims must be decided on the basis of the

administrative record, as Defendants previously argued. A district court evaluating

the sufficiency of a party’s claims is limited to materials contained in the

administrative record. Crosby v. La. Health Serv. and Indem. Co., 647 F.3d 258, 263

(5th Cir. 2011). This prevents parties from “circumvent[ing] the administrative

process” by waiting until after a lawsuit is filed to produce evidence. Id. The Maurstad

Declaration is wholly outside of the administrative record. So even if (as Defendants

claim) it contains information about the administrative record, it is not the

administrative record but instead “post hoc rationalizations” for the agency’s action.

See Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 419-20 (1971); see

also 5 U.S.C. § 706 (requiring the court to review the whole administrative record).

      Defendants’ concern—that it will take too long to compile the administrative

record, so the Maurstad Declaration is a faster way to provide background

information on Equity in Action—rings hollow when Plaintiffs have been seeking this

precise information for years. See N. Lafourche Conservation Levee and Drainage

Dist. Decl., ECF No. 1-36 ¶¶ 14–18 (describing history of collaboration); St. Mary

Parish Decl., ECF No. 1-27 ¶¶ 6–7, 43–44 (describing partnership between St. Mary

Parish and FEMA); Morganza Action Coal. Decl., ECF No. 1-50 ¶ 10 (explaining

FEMA’s failure to consult); see also, e.g., Compl., St. Charles Parish, 2:23-cv-01369,

ECF No. 1 (E.D. La. Apr. 25, 2023); Ltr. to Administrator Criswell from the House

Committee on Oversight and Accountability (May 1, 2023) (describing the lack of

transparency); Letter to Comptroller General from Senator Cassidy, et al. (June 28,




                                          11
    Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 19 of 44




2023), Ex. 6; Letter to Administrator Criswell from Representatives Carter, Pascrell,

and Pallone (March 31, 2022), Ex. 7; Letter from Senator Scott to FEMA (May 6,

2023), Ex. 8; Letter from Representative Posey to FEMA on redistricting (July 27,

2021), Ex. 9; Letter from Senator Kennedy to Mr. Maurstad, (Aug. 5, 2021), Ex. 10;

Letter from Senator Cornyn to FEMA (Sept. 7, 2021), Ex. 11; Letter from

Representatives Graves and Scalise to FEMA (Sept. 14, 2021), Ex. 12; Letter from

Senator Cruz to FEMA (Sept. 22, 2021), Ex. 13; Letter from Senators to FEMA (Sept.

22, 2021), Ex. 14; Letter from Representatives to FEMA (Sept. 24, 2021), Ex. 15;

Letter from FEMA to Representative Graves (Jan. 24, 2023), Ex. 16; Letter from the

Committee on Oversight and Accountability to FEMA (May 1, 2023), Ex. 17. If the

background information is necessary for Defendants to move to dismiss this entire

case, this background information should have been made publicly available before

FEMA finalized and implemented Equity in Action. See Crosby, 647 F.3d at 263.

      Finally, many of the paragraphs cited in Defendants’ motion to dismiss go well

beyond providing mere facts and instead serve as additional argument extolling the

virtues of Equity in Action. See Bennett v. GEO Grp, Inc., No. 12-60017, 2013 WL

5916765, at *5 (5th Cir. May 22, 2013) (rejecting parts of declaration that were based

on “subjective belief, contained legal arguments, or otherwise lacked a sufficient

factual basis”). For example:

            Maurstad argues that Equity in Action uses “more comprehensive data

             . . . that better reflect the flood risk protection by levees.” Maurstad

             Decl., ECF No. 47-3 ¶ 87 (referred to on page 7 of memorandum).




                                         12
Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 20 of 44




      He asserts that despite a statutory mandate to make “flood insurance

       available where necessary at reasonable rates,” 42 U.S.C. § 4015, FEMA

       “lacks the statutory authority to make changes to address the

       affordability of NFIP policies,” Maurstad Decl., ECF No. 47-3 ¶ 101

       (referenced on page 7 of memorandum).

      He argues that Equity in Action means a more “accurate[]” risk

       assessment” where “every policyholder pays, or will eventually pay, for

       their own flood risk, not someone else’s flood risk.” Compare id. ¶¶ 107,

       111 (cited on page 12 of memorandum), with Compl., ECF No. 1 ¶ 208

       (explaining that a home on the highest ground in Lafourche Parish that

       FEMA agrees has little chance of flooding is going to see a premium

       increase 400%); D. Bourgeois Decl., ECF No. 1-56.

      And according to Maurstad, these assessments are made by answering

       “an easy-to-understand set of questions” where agents can “quickly

       enter and submit the information needed to rate a structure.” Compare

       Maurstad Decl., ECF No. 47-3        ¶ 37 (referred to on page 14 of

       memorandum), with SouthGroup Ins. Servs. Decl., ECF No. 1-52 ¶¶ 20–

       21 (explaining that insurance agents do not understand Equity in

       Action).

      He further concludes that Equity in Action results in “premiums that

       are actuarially sound and represent the side range of flooding events for




                                   13
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 21 of 44




             which policyholders may file a claim.” Maurstad Decl., ECF No. 47-3 ¶

             123 (referred to on page 13 of memorandum).

      Maurstad goes on to assure this Court that Equity in Action actually considers

“a wider range of levees” and “mitigation discounts.” Defs’ MTD, ECF No. 47-3 at 15

(citing Maurstad Decl. ¶¶ 132–34, 168). But Plaintiffs’ declarants have explained that

they are not seeing these mitigation discounts. See Compl., ECF No. 1 ¶¶ 190–93

(citing ECF No. 1-50, ECF No. 1-37 and explaining FEMA’s failure to recognize the

MtG and LtGM levee systems in premium calculations despite no flooding during a

300-year-flood event). In fact, Maurstad states, “The only thing truly extraordinary

about these actions is that FEMA waited almost so long to update its technology and

data sources.” Maurstad Decl., ECF No. 47-3 ¶ 109 (referred to on page 14 of

memorandum).

      Even if it were appropriate for Defendants to substitute a declaration for the

administrative record, and even if it were appropriate for this Court to consider

factual assertions on the merits contained therein at the 12(b)(1) motion-to-dismiss

stage, the Court cannot give weight to Defendants’ legal arguments contained in the

declaration and relied upon in the memorandum. See Haase v. Sessions, 835 F.2d 902,

907 (D.C. Cir. 1987); see also Warth, 422 U.S. at 501.

      To the extent the Maurstad Declaration actually disputes the facts supporting

Plaintiffs’ standing as laid out in the 63 declarations attached to Plaintiffs’ complaint

and preliminary injunction motion, Plaintiffs are “obliged to submit facts through

some evidentiary method to sustain [their] burden of proof.’” Superior MRI Servs.,




                                           14
    Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 22 of 44




Inc. v. All. Healthcare Servs., Inc., 778 F.3d 502, 504 (5th Cir. 2015) (first quoting

Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981), then quoting Irwin v.

Veterans Admin., 874 F.2d 1092, 1096 (5th Cir. 1989), aff’d sub nom., Irwin v. Dep’t

of Veterans Affairs, 498 U.S. 89 (1990)).

      Complying with that obligation, Plaintiffs have attached to this opposition

evidence rebutting Defendants’ factual allegations. See Letter to Majority Leader

Reid, et al. (June 28, 2012), Ex. 1; Memorandum from Republican Financial Services

Staff to Republican Members, Committee on Financial Services (Mar. 8, 2023), Ex. 2;

Memorandum from Committee Staff to Members of the Committee on Financial

Services (Mar. 7, 2023), Ex. 3; Statement of David Maurstad Before the Committee

on Banking, Housing, and Urban Affairs (June 23, 2022), Ex. 4; Letter from

Representative Graves to Office of Mgmt and Budget, FEMA (Apr. 6, 2022), Ex. 5;

Letter to Comptroller General from Senator Cassidy, et al. (June 28, 2023), Ex. 6;

Letter to Administrator Criswell from Representatives Carter, Pascrell, and Pallone

(March 31, 2022), Ex. 7; Letter from Senator Scott to FEMA (May 6, 2023), Ex. 8;

Letter from Representative Posey to FEMA on redistricting (July 28, 2021), Ex. 9;

Letter from Senator Kennedy to Mr. Maurstad, (Aug. 5, 2021), Ex. 10; Letter from

Senator Cornyn to FEMA (Sept. 7, 2021), Ex. 11; Letter from Representatives Graves

and Scalise to FEMA (Sept. 14, 2021), Ex. 12; Letter from Senator Cruz to FEMA

(Sept. 22, 2021), Ex. 13; Letter from Senators to FEMA (Sept. 22, 2021), Ex. 14; Letter

from Representatives to FEMA (Sept. 24, 2021), Ex. 15; Letter from FEMA to

Representative Graves (Jan. 24, 2023), Ex. 16; Letter from the Committee on




                                            15
      Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 23 of 44




Oversight and Accountability to FEMA (May 1, 2023), Ex. 17; Letter from FEMA to

Senator Kennedy (Sept. 28, 2021), Ex. 18; Letter from Members of Congress to

Speaker Pelosi and Minority Leader McCarthy (Sept. 16, 2021), Ex. 19; Letter from

Gov. Edwards to Administrator Criswell (Nov. 19, 2021), Ex. 20; Letter from Ft. Bend

Cnty Mayor & Council Assoc. to U.S. House and Senate Members (Aug. 19, 2021), Ex.

21; Letter from Assistant Secretary Lugo to Senate Minority Leader McConnell (May

11, 2022), Ex. 22; The Reauthorization of the National Flood Insurance Program:

FEMA’s Perspective, Testimony of Robert G. Rash to U.S. House Comm. on Fin. Servs.

Subcommittee on Hous. and Ins. (Apr. 28, 2023), Ex. 23; Letter from FEMA to Senator

Kennedy (Sept. 26, 2022), Ex. 24; Senator Kennedy and Senator Cornyn Letter to

FEMA (July 27, 2022), Ex. 25; NFIP Legislative Proposals (May 2022), Ex. 26; Letter

from Fort Bend Chamber of Commerce to Representative Green (Aug. 2, 2021), Ex.

27.

       And Plaintiffs will continue to present evidence of their standing at the

upcoming evidentiary hearing.

II.    THE PLAINTIFFS HAVE ESTABLISHED ARTICLE III STANDING.

       To establish Article III standing, “the plaintiff must have suffered an injury in

fact . . . that is fairly traceable to the challenged conduct and likely to be redressed

by the lawsuit.” Biden v. Nebraska, 600 U.S. ----, 143 S. Ct. 2355, 2365 (2023) (citing

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). Standing is an “‘indispensable

part of the plaintiff’s case,” but a plaintiff need support its claim of standing only

“with the manner and degree of evidence required at the successive stages of

litigation.” Lujan, 504 U.S. at 561.


                                          16
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 24 of 44




      Here, Plaintiffs articulate several different theories of standing in their

complaint, have backed up each with evidence filed in the record, and will continue

to present evidence of their standing at the upcoming hearing. Each of Plaintiffs’

theories of standing suffices in its own right; taken together, they confirm Equity in

Action’s vast reach over and injury to Plaintiffs.

      A.     The Parishes Have Article III Standing.

      The most straightforward basis for standing is the Parish Plaintiffs’ economic

injuries. Economic injury is the “quintessential injury upon which to base

standing.” Tex. Democratic Party v. Benkiser, 459 F.3d 582, 586 (5th Cir. 2006).

Where, as here, the parish plaintiffs challenge a government program that causes

them to “hand[] over money,” they “have standing” to challenge the program. Young

Conservatives of Tex. Found. v. Smatresk, 73 F.4th 304, 310–11 (5th Cir. 2023).

      St. Tammany Parish provides the most obvious example. The Parish itself has

18 NFIP policies in place on several of its parish-owned properties. See St. Tammany

Decl.,, ECF No. 1-28 ¶ 37. At the time of filing, 12 of those policies had already come

up for renewal for the 2023-2024 period. Id. Under the new rates established by

Equity in Action, St. Tammany Parish will have to pay an additional $2,877. Id. ¶¶

37–39. Based on what St. Tammany Parish has seen in its own policies and its

residents’ policies, it anticipates at least several of the remaining 6 policies will

increase when they come up for renewal. Id. ¶ 39.

      In response, Defendants merely assert that this is a “de minimis cost to the

parish,” which Defendants assure the court will be “outweighed or at least

counterbalanced by the collective financial benefits that Risk Rating 2.0 confers.”


                                          17
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 25 of 44




Defs’ MTD, ECF No. 47-1 ¶¶ 38–39. Defendants’ attempt to minimize these harms is

irrelevant.

      The Parishes’ economic injury here is not small, but even if it were, the dollar

amount has no bearing on whether Plaintiffs have alleged facts that—taken as true—

establish standing. Haase, 835 F.2d at 907; see also Lujan, 504 U.S. at 561. In any

case, there exists no “de minimis” exception to standing. See Texas v. United States,

50 F.4th 498, 518 (5th Cir. 2022) (“For standing purposes, a loss of even a small

amount of money is ordinarily an ‘injury.’” (quoting Czyzewski v. Jevic Holding Corp.,

580 U.S. 451 (2017))); Smatresk, 73 F.4th at 311 (an economic injury “need not

measure more than an identifiable trifle”); see also McGowan v. Maryland, 366 U.S.

420, 430-31 (1961) (five-dollar loss). While Defendants base their motion on the

difference in value between the claims of economic injury to St. Tammany Parish and

the fiscal cost in Texas v. United States, the magnitude of the economic injury matters

not at all for purposes of standing.

      In addition, Equity in Action causes a loss of specific tax revenues to the

parishes and municipalities. See El Paso Cnty. v. Trump, 982 F.3d 332, 339 (5th Cir.

2020). Under Supreme Court precedent, a loss to a “specific tax revenue” is distinct

from a “decline in general tax revenues.” Wyoming v. Oklahoma, 502 U.S. 437, 447–

48 (1992). There, Wyoming alleged that the challenged law “deprive[d] Wyoming of

severance tax revenues,” and the Court held Wyoming “clearly” had Article III

standing. Id. Likewise, here, Equity in Action deprives the parishes and

municipalities of specific tax revenue. The Louisiana Constitution expressly provides




                                          18
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 26 of 44




parishes and municipalities with the authority to levy an ad valorem tax annually.

La. Const. art. 6, §§ 26–27. These taxes are used to mitigate against flood events,

which means that depressed property values and a reduced population will limit the

funds collected. See Compl., ECF No. 1 ¶¶ 479–573.

       Defendants mount a final attack on the Parish Plaintiffs’ standing, arguing

that the Parishes have failed to establish redressability because their policy rates

also increased from time to time under the legacy rating system. Defs’ MTD, ECF No.

47-1 at 39–40. According to Defendants, any rate increases that occurred under the

legacy system mean that enjoining Equity in Action will not grant Plaintiffs the relief

they request.

       Defendants conflate the relief that Plaintiffs seek with the injury that Equity

in Action causes them. Plaintiffs seek to enjoin Equity in Action because it violates

the APA in numerous ways. Plaintiffs have standing to seek that relief because one

way Equity in Action harms them is by imposing surprise increases in their full

premium rates by some 500%, 700%, and even 1000%—something that didn’t happen

under the predictable legacy rating system. See Cost of Flood Insurance for Single-

Family Homes under Risk Rating 2.0, FEMA (Apr. 19, 2023), https://perma.cc/K4NL-

Y7M8, FEMA Exhibit 3. Just because Plaintiffs’ rates may have experienced modest

increases now and again under the legacy system—a fact not in dispute—it is unclear

why Defendants think that enjoining Equity in Action will not redress Equity in

Action’s new drastic rate increases and the injury those drastic increases are causing

to Plaintiffs.




                                          19
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 27 of 44




      Throughout briefing, Defendants seem to suggest that Plaintiffs have somehow

failed to provide facts to support their assertions. But at the motion to dismiss stage,

Plaintiffs need only plausibly allege facts sufficient to establish standing—Plaintiffs

need not prove these facts as Defendants suggest. Lujan, 504 U.S. at 561. Here,

Plaintiffs have satisfied their burden. See Compl., ECF No. 1 ¶¶ 479-573.

      B.     The Levee Districts Have Article III Standing.

      Like the parishes, the Levee District Plaintiffs are injured by Equity in Action

because they are no longer rewarded for mitigation efforts. Take, for example, the

LtGM levee system. This levee system was funded, in part, by the South Lafourche

Levee District, which imposed an Ad Valorem tax along with a sales and use tax. See,

e.g., South Lafourche Levee District Decl., ECF No. 1-37 ¶¶ 6–10. As a result of the

levee system, the flood damage from Hurricane Ida was minimal. Not a single

structure flooded. Id. ¶ 16. In fact, two years before Hurricane Ida, FEMA expressly

recognized that the levee system offered protection against a 100-year flood event—

a recognition proved correct after Hurricane Ida. Id. ¶ 11. As a result, Lafourche

Parish saw discounts baked into their premium rates. Id. ¶ 20 After all, those areas

were protected against a 100-year flood event.

      But after Equity in Action, FEMA no longer recognizes the LtGM levee system

as effective. Instead, Equity in Action concludes that this levee system could not

protect against a 300-year flood, despite observed evidence that it can withstand such

an event. Id. ¶ 18. As a result, premiums in the area are increasing significantly. Id.

¶ 20 (showing that a $500 annual NFIP policy is expected to increase to a $7,000

annual policy).


                                          20
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 28 of 44




       In addition, Equity in Action causes a loss of specific tax revenues to the levee

districts. El Paso Cnty., 982 F.3d at 339. As explained in Plaintiffs’ complaint, the

Louisiana Constitution gives levee districts the authority to assess and impose ad

valorem taxes for the specific “purpose of constructing and maintaining levees, levee

drainage, flood protection, hurricane flood protection, and for all other purposes

incidental thereto.” See Compl., ECF No. 1 ¶¶ 93–94; see also La. Const. art. 6, § 39.

As Levee District Plaintiffs explain in their declarations, flood insurance rates are

increasing because of Equity in Action, and in response, people are leaving the area

and property values are dropping. See, e.g., North Lafourch Conservation, Levee, and

Drainage District Decl., ECF No. 1-36 ¶¶ 5–11, 24; SE La-East Decl., ECF No. 1-40

¶¶ 16–21; South Lafourche Levee District Decl., ECF No. 1-37 ¶¶ 29–33; see also

Letter from Fort Bend Chamber of Commerce to Representative Green (Aug. 2, 2021),

Ex. 27. This directly harms the Districts’ ability to secure funds to mitigate against

flood risk.

       C.     The States Have Article III Standing.

              1.    Equity in Action injures the States’ important sovereign interests.

       Plaintiffs have established standing based on their sovereign interests as

States. States are “not normal litigants.” Massachusetts v. EPA, 549 U.S. 497, 518

(2007). Unlike other litigants, a State has important interests inherent in its capacity

as a sovereign to “create and enforce a legal code” and “demand [] recognition from

other sovereigns.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 592 (1982); see

also Alden v. Maine, 527 U.S. 706, 748 (1999) (explaining that States are “residuary

sovereigns and joint participants in the governance of the Nation”).


                                          21
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 29 of 44




      So when the federal government asserts “authority to regulate matters [that

the States] believe they control” or otherwise “interfer[es] with the enforcement of

state law,” States have standing to file suit. Texas v. United States, 809 F.3d 134, 153

(5th Cir. 2015); see also Alfred L. Snapp & Son, Inc., 458 U.S. at 601. States need only

show “an increased regulatory burden” or “pressur[e] to change state law” to establish

standing, Texas v. Equal Empl. Opp. Comm’n, 933 F.3d 433, 446 (5th Cir. 2019),

which is not a high burden, particularly at the motion to dismiss stage, Lujan, 504

U.S. at 560–61. State plaintiffs can also establish standing by showing a “desire to

preserve [their] sovereign territory.” Massachusetts v. EPA, 549 U.S. at 519.

      As alleged in Plaintiffs’ complaint, Equity in Action harms Louisiana’s

sovereign interest in enforcing its own legal code. Compl.. ECF No. 1 ¶¶ 279–282; see

Alfred L. Snapp & Son, Inc., 458 U.S. at 601. The States and FEMA historically have

worked together as co-sovereigns to establish and maintain a program to promote

and encourage flood insurance. To be sure, the federal government enacted the

National Flood Insurance Act, 42 U.S.C. §4001 et seq., but the State of Louisiana has

enacted laws that provide parishes and municipalities with express authority to

adopt their own regulations consistent with the NFIA itself and FEMA regulations,

La. Rev. Stat. § 38:84(A).

      Louisiana further instructs its “office of engineering” to cooperate with FEMA

in “carrying out” state participation and encouraging local government participation.

Id. § 38:84(B). The federal government reinforces this cooperative relationship by

working with state and local entities to develop flood plain management regulations.




                                          22
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 30 of 44




See, e.g., 44 C.F.R. § 60.3 (“In all cases the minimum requirements . . . depend on the

amount of technical data formally provided to the community by the Federal

Insurance Administrator.”); Id. § 60.3(a)–(c) (directing communities to undertake

certain measures when the Federal Insurance Administrator has failed to provide

specific data).

       Equity in Action frustrates this cooperation. FEMA’s own regulations

articulate detailed criteria for developing floodplain management regulations based

on a community’s FIRMS. 44 C.F.R. § 60.3. But as Plaintiffs explained, Compl., ECF

No. 1 ¶¶ 214–222, and Defendants admit, Defs’ MTD, ECF No. 47-1 at 12, Equity in

Action no longer uses FIRMs to set rates. Whereas Louisiana law directs state and

local governmental entities to comply with the NFIA’s requirements, La. Rev. Stat. §

38:84(A), which expressly rely on community FIRMs, 44 C.F.R. § 60.3, the flood

insurance program that the NFIA established no longer relies on community FIRMs.

In other words, state and federal laws require compliance with something that is no

longer relevant to the flood insurance program. This further discourages

participation in the program because local governments are forced to enact local

ordinances based on FIRMs while being subjected to an entirely new criteria for

setting flood insurance rates. See, e.g., Assumption Decl., ECF No. 1-7 ¶¶ 9, 26–28,;

Plaquemines Decl., ECF No. 1-22 ¶¶ 5, 44–53. This situation frustrates the very core

of Louisiana’s law, which is to “secure for the citizens of the state of Louisiana the

flood insurance coverage provided for by the [NFIA].” La. Rev. Stat. § 38:84(A); see

also Minvielle v. Iberia Par. Gov’t, 317 So.3d 588, 597 (La. Ct. App. 3d Cir. 2019)




                                          23
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 31 of 44




(describing the State’s “legitimate government objectives,” which include the “safety,

security, and economic well-being of its citizens—specifically eligibility for flood

insurance”). In addition, Equity in Action imposes an “increased regulatory burden.”

Texas v. Equal Empl. Opp. Comm’n, 933 F.3d at 446; see also Contender Farms, LLP

v. Dep’t of Ag., 779 F.3d 258, 266 (5th Cir. 2015) (“An increased regulatory burden

typically satisfies the injury in fact requirement.”). As alleged in Plaintiffs’ complaint,

Equity in Action is increasing the number of FEMA grant recipients who fail to

maintain their mandatory flood insurance because of the new, prohibitive costs.

Compl., ECF No. 1 ¶¶ 213, 269. Because the State, not FEMA, is responsible for

enforcing the flood insurance requirement, more defaults mean the State will need to

increase enforcement efforts. GOHSEP Decl., ECF No. 1-1 ¶¶ 43–44.

       As GOHSEP explained, when a homeowner fails to obtain or maintain flood

insurance, the State must pay back to FEMA the funds the non-compliant homeowner

received in order for FEMA to “close” the project. Id. ¶ 41. The State then may seek

to recover these funds from the non-compliant homeowner, which can prove to be a

costly and futile endeavor. Id. ¶ 42. As homeowners fail to maintain flood insurance

due to the rising costs, it becomes “more challenging” to work with homeowners, and

the State continues to be liable for more and more de-obligated grants. Id. ¶ 44.

       Finally, Equity in Action encroaches on the State’s “desire to preserve its

sovereign territory.” Massachusetts v. EPA, 549 U.S. at 519. In the most basic sense,

much like the coastlines in Massachusetts and the air in Georgia, the State of

Louisiana has an interest in maintaining mitigation efforts to reduce flooding on its




                                            24
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 32 of 44




land. See id.; see also Georgia v. Tenn. Copper Co., 206 U.S. 230, 237 (1907). Plaintiffs

have alleged that Equity in Action no longer rewards mitigation efforts and that fewer

people are undertaking mitigation projects because of Equity in Action’s increased

cost of flood insurance. See Compl., ECF No. 1 ¶¶ 121–145; Scott Decl., ECF No. 1-55

¶¶ 5–6.

      As an initial matter, Defendants disagree with Plaintiffs’ factual allegation

that Equity in Action rewards mitigation efforts. See Defs’ MTD, ECF No. 47-1 at 15.

That is a factual dispute that goes to the merits, not a serious dispute about the

State’s standing. Accepting Plaintiffs’ allegations of decreased mitigation efforts as

true (as must be done at this stage of litigation), the State of Louisiana has shown

that its interest “in all the earth and air within its domain” is harmed by Equity in

Action. Georgia, 206 U.S. at 237.

      Defendants next assert that “[b]inding precedent forecloses the plausibility of

State Plaintiffs’ allegation that Risk Rating 2.0 injures their sovereign interests.”

Defs’ MTD, ECF No. 47-1 at 19–20. After all, they say, Equity in Action “simply

adjusts the methodology.” Id. at 20. But as explained, Plaintiff States’ sovereign

injuries from Equity in Action fall squarely within the cases permitting standing

based on harms to sovereign interests, particularly when a federal agency ignores the

APA’s safeguards and overhauls an entire regulatory program.

      Defendants counter that somehow recent Supreme Court decisions have

eviscerated this type of standing. See, e.g., Defs’ MTD, ECF No. 47-1 at 24 n.19. But

Defendants’ cases are inapposite. United States v. Texas involved a challenge to an




                                           25
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 33 of 44




Executive Branch policy and was not a case arising under the APA, which the Court

suggested was important to its analysis. 143 S. Ct. 1964, 1973 (2023). Haaland v.

Brackeen determined that the State plaintiffs only alleged parens patriae standing

and did not press any independent protectable state interests. 143 S. Ct. 1609, 1640

(2023). California v. Texas concluded that the States failed to show a causal link

between the injury and the challenged action, not that standing was entirely

unavailable. 141 S. Ct. 2104, 2117 (2021). Trump v. New York determined that it was

speculative how the President would implement a “general statement of policy,”

which differs from a concrete agency action here. 141 S. Ct. 530, 535 (2020).

      Defendants next assert that, even if Plaintiffs could assert a sovereign interest,

they fail to plausibly allege sufficient facts. Defs’ MTD 21, ECF No. 47-1. Plaintiffs’

complaint and attached declarations confirm otherwise. As explained throughout this

brief, Plaintiffs have easily satisfied their burden at the motion to dismiss stage. See

Lujan, 504 U.S. at 561.

             2.      Equity in Action injures the State’s quasi-sovereign interests.

      Plaintiffs have established standing based on their quasi-sovereign interests,

which “consist of a set of interests that the State has in the well-being of its populace.”

Alfred L. Snapp & Son, 458 U.S. at 602. This includes an “interest in the health and

well-being” of a State’s residents or in the State “not being discriminatorily denied its

rightful status within the federal system.” Id.; see also Pennsylvania v. West Virginia,

262 U.S.553, 592 (1923). As to the former, courts consider whether the injury is one

“the State, if it could, would likely attempt to address through its sovereign

lawmaking powers.” Alfred L. Snapp & Son, 458 U.S at 607. With respect to the


                                            26
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 34 of 44




latter, the State has “an interest in securing observance of the terms under which it

participates in the federal system” and “assuring that the benefits of the federal

system are not denied to its general population.” Id. at 607–08.

      Defendants argue that it is “well settled” that a State cannot bring these claims

against the federal government. Defs’ MTD, ECF No. 47-1 at 22–23. But this ignores

the category of cases under a quasi-sovereign theory of standing that States are

permitted to bring against the federal government. See, e.g., Georgia, 206 U.S. at 237.

Under this umbrella of cases, States are really “asserting some injury to their own

interests separate and apart from their citizens’ interests.” Kentucky v. Biden, 23

F.4th 585, 596 (6th Cir. 2022).

      Here, Equity in Action “implicates [S]tates’ power to make and enforce policies

and regulations” related to the health and safety of its citizens. Id. at 599 (citing

Alfred L. Snapp & Son, 458 U.S. at 601, 603–04). Inherent in this power is Louisiana’s

interest in promoting participation in the NFIP. See Minvielle, 317 So.3d at 597

(describing the State’s interest in citizens being able to secure flood insurance).

               3.   Equity in Action causes the States to suffer economic harm.

      Plaintiffs have established standing based on their economic interests.

Defendants describe Plaintiffs’ allegations as a “lengthy daisy chain of events” and

rely on Clapper v. Amnesty Int’l, 568 U.S. 398 (2013) to reject what they believe to be

an attenuated causal chain. Defs’ MTD, ECF No. 47-1 at 25–26. What is missing from

Defendants’ argument, however, is the fact that many of these events have already

taken place.




                                           27
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 35 of 44




      Plaintiffs have alleged that Equity in Action “will devalue mitigation efforts.”

Compare id., with Compl., ECF No. 1 ¶¶ 121-145; Scott Decl., ECF No. 1-55 ¶¶ 5–6.

Plaintiffs have alleged that Equity in Action has “result[ed] in higher premiums.”

Compare Defs’ MTD, ECF No. 47-1 at 26, with D. Bourgeois Decl., ECF No. 1-56 ¶¶

26, 30,; Scott Decl., ECF No. 1-55 ¶ 16; GOHSEP Decl., ECF No. 1-1 ¶¶ 52–53.

Plaintiffs have alleged facts sufficient to show that people are leaving the area due to

the high cost of flood insurance. Compare Defs’ MTD, ECF No. 47-1 at 26,with

GOHSEP Decl., ECF No. 1-1 ¶ 57. Plaintiffs have alleged facts sufficient to show that

property values are depressed as a result. Compare Defs’ MTD, ECF No. 47-1 at 26,

with Gulf Coast Bank & Tr. Decl., ECF No. 1-45 ¶16.

      Plaintiffs’ factual allegations show that Equity in Action is harming the public

funds available for the State to address flood concerns. Unlike Clapper, where each

of the purported links in the chain of events was a mere “possibilit[y]” because it had

not yet happened, 568 U.S. at 410, Plaintiffs here have submitted evidence showing

that the harms they feared have now in fact occurred. See also Fla. Key Deer v.

Stickney, 864 F. Supp. 1222, 1230 (S.D. Fla. 1994) (concluding that if flood insurance

is not available, “residents of that community face significant consequences”).

      Defendants next claim that each of these purported injuries “hinges on the

future decisions of independent third parties.” Defs’ MTD, ECF No. 47-1 at 27. Not

so. As discussed above, those third parties have already taken action, and the State

is experiencing harms as a result. In fact, Congress correctly predicted that these

harms would come to fruition, finding that “the availability of Federal . . . insurance,




                                          28
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 36 of 44




and other forms of financial assistance are often determining factors in the utilization

of land and the location and construction of . . . facilities.” 42 U.S.C. § 4002(a)(2), (6)

(finding that “it is in the public interest for persons already living in flood-prone areas

to have both an opportunity to purchase flood insurance and access to more adequate

limits of coverage”).

       In addition, Plaintiffs here assert a loss of specific tax revenues. El Paso Cnty.,

982 F.3dat 339; see also Bank of Am. Corp. v. City of Miami, 137 S. Ct. 1296, 1303

(2017). As alleged in Plaintiffs’ complaint, Louisiana spends significant public funds

in response to major flood events. See, e.g., Compl., ECF No. 1 ¶¶ 266–67. Because of

Equity in Action, fewer people are undertaking mitigation projects, which leaves

many areas more vulnerable to major flood events. See Id. ¶ 291. The loss of funds

directly harms the State’s ability to respond to these disasters. The State of Louisiana

sets aside special funds to offset any unexpected expenses, and it has previously had

to access those funds in response to extreme flooding. See La. Rev. Stat. § 39:94. In

addition, given the sizeable presence of oil and gas production in the State, the harm

to those industries will reduce the severance tax levied on those lands. See La. Const.

art. 7, §4.

              4.     Equity in Action injures the States’ proprietary interests.

       Plaintiffs have alleged facts establishing standing based on their proprietary

interests. These rules of standing treat a State “much like a private litigant.” La.

Dep’t of Wildlife & Fisheries v. NOAA, 70 F.4th 872, 877–78 (5th Cir. 2023). States,

after all, “can enter into contracts, own land, and participate in business ventures.”

Id. at 878. In particular, courts have recognized standing when a “change in federal


                                            29
    Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 37 of 44




law” requires the State to effectively subsidize federal programs or offer state

government services at a loss. See, e.g., id.; Texas v. United States, 809 F.3d at 153

(explaining that such an injury amounts to an “institutional injury to [the State’s]

lawmaking authority”).

      Here, Equity in Action harms the State’s propriety interests in two related but

distinct ways. First, as homeowners undertake mitigation projects but are unable to

maintain the mandatory flood insurance, the State is increasingly liable for

reimbursing FEMA for the grant money given to private homeowners. See GOHSEP

Decl., ECF No. 1-1 ¶¶ 41–44. This means that the State is ultimately paying for—or

at least subsidizing—mitigation projects that may or may not be completed but that

have been de-obligated from the federal grant program. Id. Second, as explained

above, as fewer people obtain coverage for insurance, the cost of rebuilding after a

flood event will fall to the State. See Compl., ECF No. 1 ¶¶ 264–267.

             5.     Equity in Action causes the State a procedural injury.

      Defendants assert that Plaintiffs cannot establish standing based on Plaintiffs’

inability to file comments. Defs’ MTD, ECF No. 47-1 at 24. As an initial matter,

Defendants’ cited case— Louisiana v. Biden, 64 F.4th 674 (5th Cir. 2023)–does not

establish the broad rule they suggest. In that case, the States challenged an

Executive Order and associated Interim Estimates. Id. at 677. The Fifth Circuit

concluded that because the Executive Order “d[id] not require any action from federal

agencies,” the plaintiffs’ harms were speculative. Id. at 681.

      Here, of course, FEMA took action. It revised its entire system for identifying

risks and calculating premiums. Furthermore, as explained in great detail above,


                                          30
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 38 of 44




Plaintiffs have established numerous “concrete interests” of the kinds explained in

Summers v. Earth Island Institute, 555 U.S. 488, 498 (2009). As discussed, Plaintiffs

have plausibly alleged harm to their sovereign, quasi-sovereign, and economic

interests.

                                           *
      In sum, Plaintiffs are suffering many injuries at the hands of Equity in Action.

Each of their injuries—laid out point by point above—is sufficient to establish

standing. And particularly at the motion to dismiss stage, Plaintiffs have plausibly

alleged sufficient facts and have supported those allegation with sufficient evidence

to support each of their injuries. This Court should reject Defendants’ attempt to raise

the pleading standard beyond what the federal rules require and any injured party

could attain.

      D.        PLAINTIFFS HAVE STANDING UNDER NEPA.

      Defendants argue that Plaintiffs lack standing to bring a NEPA claim.

Defendants’ argument skips past the Supreme Court’s instruction that th test for

NEPA standing is “not meant to be especially demanding.” Ecosys. Inves. Partners v.

Crosby Dredging, LLC, 729 Fed. App’x 287, 294 (5th Cir. 2018) (quoting Match-E-Be-

Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012)).

NEPA claims raised in APA actions are “presumptively reviewable.” Patchak, 567

U.S. at 225 (quoting Clarke v. Securities Industry Assn., 479 U.S. 388, 399 (1987)).

Only “when a plaintiff’s interests are so marginally related to or inconsistent with

the purposes implicit in the statute that it cannot reasonably be assumed that




                                          31
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 39 of 44




Congress intended to permit the suit” will a court deny standing on this basis. Id.

(quoting Clarke, 479 U.S. at 399).

       NEPA broadly declares “a national policy which will encourage productive and

enjoyable harmony between man and his environment.” 42 U.S.C. § 4321. But a

plaintiff “with both environmental and economic injuries falls within NEPA’s zone of

interests even if the plaintiff’s economic interests are the real ‘impetus’ for its

lawsuit.” Ecosys. Inves. Partners, 729 Fed. App’x at 294 n.6.

       Here, Plaintiffs establish NEPA standing by asserting both economic and

environmental interests. As discussed extensively above, Plaintiffs’ economic injuries

are significant. Contrary to Defendants’ claims, the harms stemming from Equity in

Action are also environmental as they directly relate to the “harmony between man

and his environment.” 42 U.S.C. § 4321. Congress already found that “the availability

of Federal . . . insurance . . . [is] often [the] determining facto[r] in the utilization of

land and the location and construction of public and private industrial, commercial,

and residential facilities.” 42 USC § 4002(a)(2).

       Courts have agreed with this congressional finding. See Fla. Key Deer v.

Paulison, 522 F.3d 1133, 1142–44 (11th Cir. 2008); see also Stickney, 864 F. Supp at

1233. In Stickney, for example, the court concluded that “Section 7 of the [Endangered

Species Act] does apply to FEMA’s activities in implementing the NFIP” because of

the environmental impacts of new developments. 864 F. Supp. at 1232. The Eleventh

Circuit reversed, concluding that FEMA had to comply with the ESA because FEMA

has significant discretion over land use in flood prone areas and because Congress




                                            32
     Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 40 of 44




directed FEMA to protect the “natural and beneficial floodplain functions.” Paulison,

522 F.3d at 1143 (quoting 42 U.S.C. § 4022(b)). The Eleventh Circuit further

determined that this conclusion was consistent with FEMA’s own NFIP regulations

that acknowledge the impact of the agency’s actions on wildlife and the environment.

Id. (citing 44 C.F.R. § 60.5(b)(2)).

       Applied here, both Stickney and Paulison confirm that the NFIP impacts the

environment and that changes to the NFIP program must undergo an environmental

analysis. Plaintiffs have showed that FEMA’s transformation of the NFIP has an

impact on the floodplains. As mitigation slows, damage to land and property

increases. See Compl., ECF No. 1 ¶¶ 122–24. And as fewer people can afford to live

in coastal areas, the types of development and construction change as well. See, e.g.,

Home Builders Assoc. Decl., ECF No. 1-46 ¶ 9; Scott Decl., ECF No. 1-55 ¶¶ 4–5.

Under Stickney and Paulison, FEMA was required, but failed to, conduct an

environmental analysis before implementing Equity in Action.

                                       CONCLUSION

       For these reasons, Plaintiffs have standing, and this Court should deny

Defendants’ motion to dismiss.




                                           33
    Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 41 of 44




Dated: August 31, 2023               Respectfully submitted,

                                      JEFF LANDRY
                                       ATTORNEY GENERAL

                                      By:/s/ Elizabeth B. Murrill
                                      ELIZABETH B. MURRILL (La #20685)
                                        Solicitor General
                                      MORGAN BRUNGARD (La #40298)
                                        Assistant Solicitor General
                                      TRACY SHORT (La #23940)
                                        Assistant Attorney General
                                      LOUISIANA        DEPARTMENT   OF
                                      JUSTICE
                                      1885 N. Third Street
                                      Baton Rouge, Louisiana 70802
                                      Tel: (225) 326-6766
                                      murrille@ag.louisiana.gov
                                      brungardm@ag.louisiana.gov
                                      shortt@ag.louisiana.gov

                                      Counsel for the State of Louisiana,
                                      Plaintiff       Parishes,       Plaintiff
                                      Municipalities, Plaintiff Levee Districts,
                                      Plaintiff Drainage Districts, and
                                      Plaintiff Associations

ASHLEY MOODY                          DREW H. WRIGLEY
  Attorney General                      Attorney General
JAMES H. PERCIVAL*                    PHILIP AXT (ND Bar No. 09585)*
  Chief of Staff                        Solicitor General
Office of the Attorney General        North Dakota Attorney General’s Office
The Capitol, PL-01                    600 E Boulevard Avenue, Dept. 125
Tallahassee, FL 32399                 Bismarck, ND 58505
(850) 414-3300                        (701) 328-2210
(850) 410-2672 (fax)                  pjaxt@nd.gov
james.percival@myfloridalegal.com
                                      Counsel for the State of North Dakota
Counsel for the State of Florida




                                    34
   Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 42 of 44




RAÚL LABRADOR                        ALAN WILSON
  Attorney General                     South Carolina Attorney General
THEODORE J. WOLD *                   ROBERT D. COOK
  Solicitor General                    Solicitor General
OFFICE OF THE IDAHO ATTORNEY         J. EMORY SMITH, JR.*
GENERAL                              Deputy Solicitor General
700 W. Jefferson Street, Ste. 210    THOMAS T. HYDRICK*
P.O. Box 83720                       Assistant Deputy Solicitor General
Boise, ID 83720                      JOSEPH D. SPATE*
Telephone: (208) 999-0910            Assistant Deputy Solicitor General
Email: Theodore.Wold@ag.idaho.gov    Post Office Box 11549
                                     Columbia, SC 29211
Counsel for State of Idaho           (803) 734-4127
                                     thomashydrick@scag.gov

                                     Counsel for the State of South Carolina

DANIEL CAMERON                       JOHN SCOTT
  Attorney General of Kentucky         Provisional Attorney General
LINDSEY KEISER*                      RALPH MOLINA
  Assistant Attorney General           Deputy Attorney General for Legal
Kentucky Office of the Attorney      Strategy
General                              CHARLES ELDRED*
700 Capital Avenue, Suite 118        Chief, Special Litigation Division
Frankfort, Kentucky                  Office of the Attorney General of Texas
Tel: (502) 696-5517                  P.O. Box 12548
                                     Austin, Texas 78711
Counsel for the State of Kentucky    (512) 936-1706
                                     charles.eldred@oag.texas.gov


                                     Counsel for the State of Texas




                                    35
   Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 43 of 44




LYNN FITCH                           JASON S. MIYARES
 Attorney General                     Attorney General
JUSTIN L. MATHENY*                   ANDREW N. FERGUSON
 Deputy Solicitor General              Solicitor General
OFFICE OF THE MISSISSIPPI            KEVIN M. GALLAGHER*
ATTORNEY GENERAL                       Deputy Solicitor General
550 High Street, Suite 1200          Virginia Attorney General’s Office
Jackson, MS 39201                    202 North 9th Street
(601) 359-3680                       Richmond, VA 23219
justin.matheny@ago.ms.gov            (804) 786-2071
                                     aferguson@oag.state.va.us
Counsel for State of Mississippi     kgallagher@oag.state.va.us

                                     Counsel for Plaintiff Commonwealth of
                                     Virginia

AUSTIN KNUDSEN
 Attorney General
CHRISTIAN B. CORRIGAN*
 Solicitor General
PETER M. TORSTENSEN, JR.*
 Assistant Solicitor General
Montana Department of Justice
P.O. Box 201401
Helena, MT 59620-1401
Phone: (406) 444-2026
Christian.Corrigan@mt.gov
Peter.Torstensen.@mt.gov

Counsel for the State of Montana

*Pro hac vice




                                   36
    Case 2:23-cv-01839-DJP-JVM Document 75 Filed 09/05/23 Page 44 of 44




                          CERTIFICATE OF SERVICE

      I hereby certify that, on this date, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all CM/ECF participating attorneys. All other counsel will be served

by U.S. Mail, postage paid.

      This the 31st day of August, 2023.

                                        /s/ Elizabeth B. Murrill
                                        ELIZABETH B. MURRILL (La #20685)
                                          Solicitor General




                                           37
